                 Case 2:15-cv-00284-MJP Document 39 Filed 10/12/15 Page 1 of 3




                                                        THE HONORABLE MARSHA J. PECHMAN
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 8                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE
10   THOMAS E. HORNISH AND SUZANNE J.
     HORNISH JOINT LIVING TRUST, TRACY                 No. 2:15-cv-00284-MJP
11   AND BARBARA NEIGHBORS, ARUL
     MENEZES AND LUCRETIA                              NOTICE OF APPEARANCE AND
12   VANDERWENDE, LAKE SAMMAMISH 4257                  ASSOCIATION
     LLC, HEBERT MOORE AND ELYNNE
13   MOORE, AND EUGENE MOREL AND                       (Clerk’s Action Required)
     ELIZABETH MOREL,
14
                                  Plaintiffs,
15
            v.
16
     KING COUNTY, a home rule charter county,
17
                                  Defendant.
18

19   TO:            CLERK OF THE COURT;
20   AND TO:        ALL PARTIES AND THEIR COUNSEL OF RECORD:
21          PLEASE TAKE NOTICE that the undersigned attorneys Emily J. Harris and David Freeburg
22   of Corr Cronin Michelson Baumgardner Fogg & Moore LLP, hereby make and enter their
23   appearance in the above-entitled proceeding and are associated with Senior Deputy Prosecuting
24   Attorneys David J. Hackett, H. Kevin Wright, Peter G. Ramels and Barbara A. Flemming, as counsel
25   for Defendant. Copies of all future papers, motions and pleadings, exclusive of original process,


                                                                       Daniel T. Satterberg, Prosecuting Attorney
      NOTICE OF APPEARANCE AND ASSOCIATION – Page 1                    CIVIL DIVISION, Litigation Section
      No. 2:15-cv-00284                                                900 King County Administration Building
                                                                       500 Fourth Avenue
                                                                       Seattle, Washington 98104
                                                                       (206) (296-8820 Fax (206) 296-8819
                  Case 2:15-cv-00284-MJP Document 39 Filed 10/12/15 Page 2 of 3




 1   should be served on Emily J. Harris and David Freeburg, in addition to service upon all other counsel

 2   of record.

 3          DATED this 12th day of October, 2015.

 4
                                                  CORR CRONIN MICHELSON
 5                                                BAUMGARDNER FOGG & MOORE LLP
 6
                                                  s/ Emily J. Harris
 7                                                Emily J. Harris, WSBA #35763
                                                  Special Deputy Prosecuting Attorney
 8                                                1001 Fourth Avenue, Suite 3900
                                                  Seattle, WA 98154
 9                                                P: (206) 625-8600
10                                                F: (206) 625-0900
                                                  eharris@corrcronin.com
11
                                                  CORR CRONIN MICHELSON
12                                                BAUMGARDNER FOGG & MOORE LLP
13                                                s/ David Freeburg
14                                                David Freeburg, WSBA #48935
                                                  Special Deputy Prosecuting Attorney
15                                                1001 Fourth Avenue, Suite 3900
                                                  Seattle, WA 98154
16                                                P: (206) 625-8600
                                                  F: (206) 625-0900
17                                                dfreeburg@corrcronin.com
18

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                                                                         Daniel T. Satterberg, Prosecuting Attorney
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                                                                         Seattle, Washington 98104
                                                                         (206) (296-8820 Fax (206) 296-8819
                       Case 2:15-cv-00284-MJP Document 39 Filed 10/12/15 Page 3 of 3




                                             CERTIFICATE OF SERVICE
      1
                    I hereby certify that on October 12, 2015, I electronically filed the foregoing with the Clerk
      2     of the Court using the CM/ECF system, which will send notification of such filing to all counsel of
            record.
      3
                     DATED this 12th day of October, 2015.
      4

      5                                                           s/Leslie Nims
                                                                  Leslie Nims
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                                                                                  Daniel T. Satterberg, Prosecuting Attorney
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                                                                                  500 Fourth Avenue
                                                                                  Seattle, Washington 98104
                                                                                  (206) (296-8820 Fax (206) 296-8819
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